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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW HAMPSHIRE



 JOHN DOE,

                        Plaintiff,                     Civil Action No.: 1:19-cv-00013-JL
        v.

TRUSTEES OF DARTMOUTH COLLEGE,

                        Defendant.



                        JOINT STIPULATED TIMELINE OF EVENTS

        In accordance with this Court’s Procedural Order of January 9, 2019, Dkt. No. 12, the

parties, plaintiff John Doe and defendant Trustees of Dartmouth College (“Dartmouth”), jointly

file the following stipulated timeline of events relevant to John Doe’s request for preliminary

injunctive relief. The parties are stipulating to this timeline of events to aid the court in its

consideration of the motion for preliminary injunction, but in doing so are merely stipulating that

the facts stated occurred when they did – without conceding that any particular fact necessarily is

relevant to the preliminary injunction motion.

May 2018

-   May 19-20: John and Sally have an encounter in Sally’s room.

-   May 20: Sally emails Dartmouth’s Title IX office about an alleged “incident” that occurred
    the previous night.

-   May 21: Sally meets with Dartmouth’s Title IX coordinator, Kristi Clemens, to discuss the
    alleged incident and make an official report of sexual assault.

-   May 30: Spring 2018 Term classes end.

June 2018

-   June 5: Spring 2018 Term final exam period ends.

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-   June 21: Summer 2018 Term classes begin.

-   June 24: Sally is interviewed by the Hanover Police.

-   After June 24: Sally provides physical evidence to the Hanover PD.

July 2018

-   July 2: John meets with a Hanover Police officer.

-   July 5: Dartmouth’s Director of Judicial Affairs, Katherine Strong, provides a letter to John
    notifying him of Sally’s allegation of sexual intercourse without consent and Dartmouth’s
    investigation.

-   July 12: Dartmouth’s Title IX coordinator, Kristi Clemens, issues No Contact Orders.

-   July 13: John submits a signed Statement of Understanding denying the allegation against
    him.

-   July 18: Investigator interviews Sally, during which Sally tells the Investigator that she had
    submitted some clothing to the Hanover Police; Sally provides some but not all of the text
    messages between her and John to the Investigator.

-   July 20: John submits to the Investigator a statement of cooperation, proposed witness list,
    text messages with Sally, and summary of evidence.

-   July 25: John takes a polygraph examination conducted by John Consigli of Consigli
    Polygraph Services.

-   July 26: John Consigli provides an opinion that there was no deception indicated in John’s
    answers to the polygraph questions.

August 2018

-   August 1: Investigator interviews John; John provides the polygraph results to the
    Investigator.

-   August 17: Investigator interviews John a second time; the Investigator discusses the
    polygraph exam with John and his advisor

-   August 20: John’s counsel sends an email to Dartmouth’s General Counsel, Sandhya Iyer,
    requesting that Dartmouth’s investigation include consideration of the polygraph results.

-   August 22: John submits letter to the Investigator stating his position regarding the
    allegations, raising concerns about notice and the opportunity to review the transcripts of
    interview, and clarifying certain responses in August 17 interview.

-   August 31: Katharine Strong, Director of Judicial Affairs, emails John confirming
    Dartmouth’s position that it had provided adequate notice of the allegations against him and

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    that according to the Unified Disciplinary Procedures, the transcripts would be made
    available to John before the report is finalized.

-   August 22: Summer 2018 Term classes end.

-   August 28: Summer 2018 Term final exam period ends.

September 2018

-   September 4: In response to the request from John’s counsel, Dartmouth Associate General
    Counsel Dana Scaduto sends a letter to John’s counsel stating that “Dartmouth does not
    allow polygraph examinations to be considered in any student proceedings, including those
    conducted under the College’s Title IX process.”

-   September 21: The Investigator issues a 14-page Preliminary Report, with 612-page
    appendix.

October 2018

-   October 8: John submits his response to the Preliminary Report.

-   October 8: John notifies Dartmouth that Sally had submitted her clothing to Hanover Police
    for forensic testing.

-   October 8: Sally submits a response to the Preliminary Report.

-   October 12: Dartmouth pauses the investigation pending the results of Hanover Police’s
    forensic testing.

November 2018

-   November 12: Dartmouth resumes the investigation after hearing from Hanover Police that
    it would not share the results of its forensic testing.

-   November 13: Fall 2018 Term classes end.

-   November 15: Seven current and former female Dartmouth students file a lawsuit against
    Dartmouth alleging it failed to prevent and investigate sexual harassment and assault within
    the Psychology department.

-   November 21: Fall 2018 Term final exam period ends.

-   November 28: John brings the issue of Sally’s text message submission to the investigator’s
    attention.

-   November 29: Investigator issues her 19-page final report with 613-page appendix.




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-   November 29: Investigator sends an email to John confirming that she has reviewed all text
    messages submitted and would be taking no further action in response to Sally’s submission
    of text messages.

December 2018

-   December 4: John submits his initial sanctioning statement to the Office of Judicial Affairs
    to be forwarded to the sanctioning panel.

-   On or about December 4: Sally submits her sanctioning statement.

-   December 10: John submits a supplemental sanctioning statement to the Office of Judicial
    Affairs to be forwarded to the sanctioning panel.

-   December 12: John meets with Director of Judicial Affairs Katherine Strong, who notifies
    him of the sanctioning panel’s decision that John’s sanction would be expulsion; John gives
    verbal notice of his intent to appeal and asks about requesting to remain on campus pending
    a decision on the appeal.

-   December 13: John makes a formal request to Dean Kathryn J. Lively, Dean of Students, to
    remain on campus while he appeals the Investigator’s findings and the sanction against him.
    Dean Lively denies John’s request to remain on campus.

-   December 19: John files his appeal of the determination and sanction.

January 2019

-   January 3: Winter 2019 Term classes begin.

-   January 3: Dartmouth announces its new Campus Climate and Culture Initiative, which “will
    seek to foster healthy, professional, and nurturing relationships among faculty, staff, and
    students.”

-   January 7: John files his Verified Complaint.




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                                           Respectfully submitted,

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                                      Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).



DATED: January 17, 2019                               /s/ William E. Christie
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